                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


DONALD J TRUMP,

                                Plaintiff,

                v.                                              Case No. 20-cv-1785-bhl

THE WISCONSIN ELECTIONS COMMISSION ET AL,

                                Defendants.


                          ORDER ESTABLISHING EXHIBIT PROCEDURES


        The Court has scheduled an evidentiary hearing for December 10, 2020 at 9:00 a.m. on the
Plaintiff’s Complaint and Motion for Expedited Declaratory and Injunctive Relief. (ECF Nos. 1, 6.)
The Court will issue an Order Establishing Remote Evidentiary Hearing Protocols before the hearing.
Given the expedited nature of the evidentiary hearing, and in advance of that more-detailed Order, the
Court directs the parties to file and exchange hearing exhibits as follows:

1.      No later than Wednesday, December 9, 2020, at 5 p.m. (CT), the parties must file on the docket
(a) a list of exhibits to be offered at trial; (b) copies of any documents the parties anticipate using at the
evidentiary hearing, other than rebuttal exhibits; and (c) a designation of all depositions or portions of
transcripts of depositions to be read into the record.
2.      Only one exhibit number should be assigned to a document.
        a.      Numbers 1 – 500 are reserved for Plaintiff’s exhibits.
        b.      Numbers 501 – 599 are reserved for Defendants’ exhibits. Counsel for all Defendants
        and Intervenor Defendants must coordinate to ensure exhibits and document numbers are not
        duplicated.
3.      No later than Wednesday, December 9, 2020, at 5 p.m. (CT), the parties must deliver courtesy
paper copies of all proposed exhibits – numbered, sequentially compiled, and separated by tabs – in a
binder, to the Clerk of District Court or the Chambers of Judge Ludwig.

        Dated at Milwaukee, Wisconsin on December 8, 2020.
                                                         s/ Brett H. Ludwig
                                                         BRETT H. LUDWIG
                                                         United States District Judge


              Case 2:20-cv-01785-BHL Filed 12/08/20 Page 1 of 2 Document 63
Case 2:20-cv-01785-BHL Filed 12/08/20 Page 2 of 2 Document 63
